     Case 2:20-cv-09594-PLA Document 23 Filed 10/06/21 Page 1 of 1 Page ID #:616



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8                                    UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN DIVISION
11

12   DOROTHY B.,                               )   No. CV 20-9594-PLA
                                               )
13                      Plaintiff,             )   JUDGMENT
                                               )
14                v.                           )
                                               )
15   KILOLO KIJAKAZI, ACTING                   )
     COMMISSIONER OF SOCIAL                    )
16   SECURITY ADMINISTRATION,                  )
                                               )
17                      Defendant.             )
                                               )
18

19         In accordance with the Memorandum Opinion filed concurrently herewith,
20         IT IS HEREBY ADJUDGED that the decision of defendant, the Commissioner of Social
21   Security Administration, is affirmed consistent with the Memorandum Opinion.
22

23   DATED: October 6, 2021                        ______________________________________
                                                               PAUL L. ABRAMS
24                                                    UNITED STATES MAGISTRATE JUDGE
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